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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Civil Action No.:      ______________


  VICTORIA WATERS,
       Plaintiff,

  vs.

  ILEAN RIDE COMPANY, LLC
       Defendant.


                                            COMPLAINT

         COMES NOW, the Plaintiff, VICTORIA WATERS, by and through her attorneys, Kenneth

  J. Shakeshaft and Joseph M. Gorman of the Shakeshaft & Gorman Law Firm, LLP and hereby files

  this Complaint against the Defendant, ILEAN RIDE COMPANY, LLC, and for cause states as

  follows:

                                       I.      JURISDICTION

         1.      This action arises under diversity of citizenship. The District Court has jurisdiction

  under Title 28 U.S.C. § 1332.

         2.      The Plaintiff, Victoria Waters, is a resident, citizen and domiciled within the State of

  Massachusetts and intends to remain in the State of Massachusetts.

         3.      Upon information and belief, the Defendant, iLean Ride Company, LLC, is a travel

  and tourism company whose citizenship resides in the State of Colorado. Defendant is incorporated

  under the laws in the State of Colorado and maintains its principal place of business in Colorado.

         4.      For purposes of Federal Diversity jurisdiction the parties are citizens, residents and

  domiciled in different states and their citizenship is completely diverse.


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          5.      The amount in controversy exceeds $75,000.00.

          6.      Venue is proper under 28 U.S.C.§ 1391 as the events leading to this lawsuit occurred

  in the State of Colorado.

                                 II.     GENERAL ALLEGATIONS

          7.      On June 24, 2017, the Plaintiff, Victoria Waters, was attending the Royal Gorge

  Whitewater Festival (“Festival”) in Canon City, Colorado.

          8.      The Defendant, iLean Ride Company, LLC, was operating and had control of a

  recreational attraction which was called Bumper Ball (“Attraction”). The Attraction was conducted

  in Canon City, Colorado.

          9.      The Attraction was open to the public for paid participation for which the Defendant

  profited.

          10.     While attending the Festival the Plaintiff, Victoria Waters, was outside of the

  Attraction’s premises which were controlled solely by the Defendant.

          11.     The Defendant, iLean Ride Company, LLC, unreasonably failed to provide any

  warnings of the dangers from the Attraction to persons outside the area in which it conducted the

  Attraction’s activities.

          12.     An individual who was participating in the Attraction forcefully struck the Plaintiff,

  Victoria Waters, throwing her to the ground and causing her injury including fracturing her shoulder.

          13.     The Plaintiff, Victoria Waters, was outside the area of the Attraction conducted by the

  Defendant when she was violently struck and thrown to the ground suffering significant injuries.

          14.     The Plaintiff, Victoria Waters, was transported via ambulance to the local hospital in

  Canon City, Colorado. Upon examination her injuries were so severe she was required to be

  transferred, for better care of her injuries, to Memorial Hospital in Colorado Springs, Colorado.


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          15.    As a direct result of the collision and her injuries, the Plaintiff, Victoria Waters, was

  required to undergo extensive medical treatment including, but not limited to imaging, surgery,

  therapy and rehabilitation.

          16.    The Defendant, iLean Ride Company, LLC, had a duty and responsibility to use

  reasonable care in managing the Attraction to adequately warn others not participating of the dangers

  from the Attraction.

          17.    The Defendant, iLean Ride Company, LLC, breached its duties by negligently failing

  to provide any warning of the dangers from the Attraction conducted on the premises under its

  control, creating an unreasonable risk of injuries to people observing the Attraction, including the

  Plaintiff.

          18.     The Defendant, iLean Ride Company, LLC, negligently created the conditions of the

  danger to bystanders of the Attraction and should have reasonably foreseen the danger to bystanders

  of the Attraction, including the Plaintiff, Victoria Waters.

          19.    The Defendant, iLean Ride Company, LLC, failed to use reasonable care in the

  operating of the Attraction at the Festival on June 24, 2017, by its failure to remove the dangers to

  bystanders, failing to warn bystanders of the dangers or failing to correct the dangers to bystanders.

          20.    As a direct and proximate result of the negligent actions of the Defendant, iLean Ride

  Company, LLC, the Plaintiff, Victoria Waters, sustained injuries and damages including but not

  limited to physical injuries, physical impairment, medical expenses, loss of enjoyment of life, pain

  and suffering, mental anguish, and non-medical economic losses.

          WHEREFORE, the Plaintiff, Victoria Waters, prays for this Court to enter judgment to be

  entered against the Defendant, iLean Ride Company, LLC, in an amount to be determined, for pre-

  judgment interest, for costs and for such other relief as the Court may deem as just.


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                                           JURY DEMAND

  The Plaintiff, Victoria Waters, requests a trial by jury.

         Respectfully submitted this the 18th day of June, 2019.



                                                    /s Joseph M. Gorman
                                                    Kenneth J. Shakeshaft
                                                    Joseph M. Gorman
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